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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM

Honorable Garland E. Burrell, Jr.              RE: May Levy
Senior United States District Judge                Docket Number: 0972 2:17CR00232-3
Sacramento, California                             PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


May Levy is requesting permission to travel to Israel. May Levy is current with all supervision
obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On August 10, 2018, May Levy was sentenced for the offense
of 18 U.S.C. § 1955(a) – Conducting an Illegal Gambling Business.


Sentence Imposed: 24 months probation, $100 S.A., and $2,000 fine.


Dates and Mode of Travel: On or before October 31, 2018


Purpose: Mr. Levy is an Israeli citizen. At his sentencing hearing, the defendant’s passport was
returned to him by the United States Attorney’s Office, so he could voluntarily return to his home
country of Israel. The defendant is requesting to return home to Israel where he intends to remain.
He does not intend to return to the United States during his term of probation. The undersigning
probation officer has contacted the parties who have no objection to this defendant returning to his
home country of Israel at this time. It is also noted the defendant has satisfied his $100 special
assessment and $2,000 fine.




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                                                                                                   REV. 03/2017
                                                                    TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      May Levy
         Docket Number: 0972 2:17CR00232-3
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,

                                    Robert A. Ramirez
                                    Chief United States Probation Officer



                                    By: Erica N. Tatum
                                     United States Probation Officer

Dated:     August 14, 2018
           Sacramento, California




REVIEWED BY:                                       for
                            Hugo Ortiz
                            Supervising United States Probation Officer



                                  ORDER OF THE COURT

The Court orders:

         ☒ Approved ☐ Disapproved

         Dated: August 16, 2018




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                                                                                                REV. 03/2017
                                                                 TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
